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3    Irvine, CA 92614
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4    FX: (949) 251-5104
5    Attorneys for Defendant Target Corporation,
     A Minnesota Corporation
6

7

8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10                                     EASTERN DIVISION
11    JEREMIAH DENARD, and individual,             CASE NO.
12                        Plaintiff,
13    v.                                           NOTICE OF REMOVAL BY
                                                   TARGET CORPORATION
14    TARGET CORPORATION, a Minnesota
      corporation; MELISSA, an individual; JURY TRIAL DEMANDED
15    and DOES 1 – 25, inclusive
                                           Case No. CIVSB2115882
16                      Defendants.
                                           Complaint Filed: June 4, 2021
17

18                                                 Trial Date:        None Set
19

20         TO THE CLERK OF THE ABOVE-ENTITLED COURT, CLERK OF THE
21   SUPERIOR COURT, AND ALL PARTIES AND THEIR ATTORNEYS OF
22
     RECORD:
23         PLEASE TAKE NOTICE that Defendant TARGET CORPORATION (“Target”)
24   hereby removes to this Court the state court action described below.
25
           1.    On June 4, 2021, an action was commenced in the Superior Court of the
26
     State of California in and for the County of San Bernardino, entitled JEREMIAH
27
     DENARD, Plaintiff vs. TARGET CORPORATION, and DOES 1 to 25, INCLUSIVE,
28
     Defendants, as Case Number CIVSB2115882
                                           1
                                             (the “Action”). A true and correct copy of
                      NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
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1
     the Summons is attached as Exhibit “A”. A true and correct copy of the Complaint filed
2
     upon June 4, 2021, is attached hereto as Exhibit “B”.
3
            2.     Target first became aware of the Action when Target was served a copy of
4
     the Complaint on July 14, 2021 when counsel for Plaintiff caused to be served, by a
5
     process server, copies of the said Complaint and Summons, and Statement of Damages,
6
     on Target’s Registered Agent, CT Corporation in California. A true and correct copy of
7
     the transmittal of summons and complaint, and statement of damages by CT service of
8
     process transmittal is attached hereto as Exhibit “C.”
9
            3.     Target is informed and believes that Plaintiff was, at the time she filed the
10
     Action, and still is, a citizen of the State of California.
11
            4.     On December 13, 2021, Target filed and served its Answer to Complaint and
12
     Demand for Jury Trial with the California Superior Court, County of San Bernardino. A
13
     true and correct copy of Target’s Answer to Complaint and Demand for Jury Trial is
14
     attached hereto as Exhibit “D.”
15
            5.     Defendant Target first learned that the amount in controversy exceeded
16
     $75,000, when it obtained plaintiff’s responses to discovery and the medical billing
17
     records for past medical treatment in the amount of approximately $115,188.74. In
18
     addition, Plaintiff is continuing treatment and more billings are pending. Plaintiff further
19
     claims that treatments are ongoing, and the medical providers state that he will require
20
     future treatment. A true and correct copy of Plaintiff’s responses to Form Interrogatories
21
     is attached hereto Exhibit “E.”
22
            6.     This removal is filed within thirty (30) days of Defendant Target being first
23
     served with plaintiff’s discovery responses on January 24, 2022 and on which date
24
     counsel for Defendant Target first ascertained that the amount in controversy exceeded
25
     $75,000 based on Plaintiffs’ Statements of Damages and medical records. Therefore, this
26
     removal is timely as required by 28 U.S.C. §1446(b) which provides:
27
                   “If the case stated by the initial pleading is not removable, a notice of
28
                                                     2
                        NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
     Case 5:22-cv-00339-MWF-KS Document 1 Filed 02/24/22 Page 3 of 9 Page ID #:3



1
                  removal may be filed within thirty days after receipt by the defendant,
2
                  through service or otherwise, of a copy of an amended pleading, motion,
3
                  order or other paper from which it may first be ascertained that the case is
4
                  one which is or has become removable, except that a case may not be
5
                  removed on the basis of jurisdiction conferred by section 1332 of this title
6
                  more than 1 year after commencement of the action.” 28 U.S.C. § 1446
7
                  (b).”
8
           7.     This action is a civil action for personal injury of which this Court has
9
     original jurisdiction under 28 U.S.C. § 1332, and is one which may be removed to this
10
     Court by Defendant Target pursuant to the provisions of 28 U.S.C. § 1441(a), based upon
11
     diversity, in that it is a civil action between citizens of different states and the matter in
12
     controversy exceeds the sum of $75,000, exclusive of interest and costs.
13
           8.     In the Complaint, Plaintiff does not indicate her citizenship, but Target is
14
     informed and believes that Plaintiff was, at the time she filed the Action and still is,
15
     citizen of the State of California.
16
           9.     Target Corporation was, at the time of the filing of this action, and still is, a
17
     citizen of the State of Minnesota, incorporated under the laws of the State of Minnesota,
18
     with its principal place of business in the State of Minnesota.
19
           10.    The other defendants in this action are fictitiously named, designated as
20
     Does 1 to 25, Inclusive, and their citizenship shall not be considered in determining
21
     diversity jurisdiction. 28 U.S.C. § 1441(b). Defendant Target is informed and believes
22
     and thereon alleges that no other defendant has been served or joined in this Action.
23
           11.    Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process.
24
     pleadings, and orders sent to and received by Target in the State Court action are attached
25
     hereto as Exhibits “A”, “B”, “C”, “D”, and “E”., including Defendant’s timely filed
26
     Answer of December 13, 2021.
27
           12.    Defendant Target hereby requests a Jury Trial of all causes of action that can
28
                                                     3
                          NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
     Case 5:22-cv-00339-MWF-KS Document 1 Filed 02/24/22 Page 4 of 9 Page ID #:4



1
     be tried by jury.
2

3
     DATED: February 24, 2021              HORTON, OBERRECHT & KIRKPATRICK
4

5
                                           By: _____________________________________
6                                               Cheryl A. Kirkpatrick
                                                Attorneys for Defendant Target Corporation
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                         NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
     Case 5:22-cv-00339-MWF-KS Document 1 Filed 02/24/22 Page 5 of 9 Page ID #:5



1
                       DECLARATION OF CHERYL A. KIRKPATRICK
2

3
     I, CHERYL A. KIRKPATRICK, declare as follows:
4
            1.     I am an attorney at law duly licensed to practice in the courts of the State of
5
     California and the Central District of California, and am a Partner in the firm of Horton
6
     Oberrecht & Kirkpatrick, attorneys of record for Defendant Target Corporation
7
     (“Target”) herein. I have personal knowledge of the matters stated herein and, if called
8
     upon to testify as a witness, I could and would competently so testify.
9
            2.     On June 4, 2021, an action was commenced in the Superior Court of the
10
     State of California in and for the County of San Bernardino, entitled JEREMIAH
11
     DENARD, Plaintiff vs. TARGET CORPORATION, and DOES 1 to 25, INCLUSIVE,
12
     Defendants, as Case Number CIVSB2115882 (the “Action”). A true and correct copy of
13
     the Summons is attached as Exhibit “A”. A true and correct copy of the Complaint filed
14
     upon June 4, 2021, is attached hereto as Exhibit “B”.
15
            3.     Target first became aware of the Action when on July 14, 2021 Counsel for
16
     Plaintiff served copies of the Complaint, the Summons, and the Statement of Damages,
17
     on Target’s Registered Agent, CT Corporation in California. A true and correct copy of
18
     the transmittal of the summons and complaint, and statement of damages by service of
19
     process transmittal is attached hereto as Exhibit “C.”
20
            4.     Target is informed and believes that Plaintiff was, at the time she filed the
21
     Action, and still is, a citizen of the State of California.
22
            5.     On December 13, 2021, Target filed and served its Answer to Complaint and
23
     Demand for Jury Trial with the California Superior Court, County of San Bernardino. A
24
     true and correct copy of Target’s Answer to Complaint and Demand for Jury Trial is
25
     attached hereto as Exhibit “D.”
26
            6.     Defendant Target first learned that the amount in controversy exceeded
27
     $75,000, when it was served with Plaintiff’s discovery responses and medical records on
28
                                                     5
                        NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
     Case 5:22-cv-00339-MWF-KS Document 1 Filed 02/24/22 Page 6 of 9 Page ID #:6



1
     January 24, 2022. Therein Plaintiff alleged $115,188.74 in damages, in accordance with
2
     proof at time of trial. A true and correct copy of Plaintiff’s responses to Form
3
     Interrogatories is attached hereto as Exhibit “E.”
4
           7.     This removal is filed within thirty (30) days of Defendant Target’s receipt of
5
     plaintiff’s discovery responses and medical records, on January 24, 2022. Therefore, this
6
     removal is timely as required by 28 U.S.C. §1446(b), which provides:
7
                   “If the case stated by the initial pleading is not removable, a notice of
8
                  removal may be filed within thirty days after receipt by the defendant,
9
                  through service or otherwise, of a copy of an amended pleading, motion,
10
                  order or other paper from which it may first be ascertained that the case is
11
                  one which is or has become removable, except that a case may not be
12
                  removed on the basis of jurisdiction conferred by section 1332 of this title
13
                  more than 1 year after commencement of the action.” 28 U.S.C. § 1446
14
                  (b).”
15
           8.     This action is a civil action of which this Court has original jurisdiction
16
     under 28 U.S.C. § 1332, and is one which may be removed to this Court by Defendant
17
     Target pursuant to the provisions of 28 U.S.C. § 1441(a) in that it is a civil action
18
     between citizens of different states and the matter in controversy exceeds the sum of
19
     $75,000, exclusive of interest and costs.
20
           9.     In her Complaint, Plaintiff does not indicate her citizenship, but Target is
21
     informed and believes that Plaintiff was, at the time she filed the Action and still is,
22
     citizen of the State of California.
23
           10.    Target Corporation was, at the time of the filing of this action, and still is, a
24
     citizen of the State of Minnesota, incorporated under the laws of the State of Minnesota,
25
     with its principal place of business in the State of Minnesota.
26
           11.    The other defendants in this action are fictitiously named, designated as
27
     Does 1 to 25, Inclusive, through 50, and their citizenship shall not be considered in
28
                                                   6
                          NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
     Case 5:22-cv-00339-MWF-KS Document 1 Filed 02/24/22 Page 7 of 9 Page ID #:7



1
     determining diversity jurisdiction. 28 U.S.C. § 1441(b). Defendant Target is informed
2
     and believes and thereon alleges that no other defendant has been served or joined in this
3
     Action.
4
           12.    Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,
5
     pleadings, and orders sent to and received by Target in the State Court action are attached
6
     hereto as Exhibits “A”, “B”, “C”, “D”, and “E”., including Defendant’s timely filed
7
     Answer of December 13, 2021.
8
           13.    Defendant Target hereby requests a Jury Trial of all causes of action that can
9
     be tried by jury.
10
           I declare under penalty of perjury under the laws of the State of California that the
11
     foregoing Declaration is both true and correct.
12
           Executed on this 24th day of February, 2022, at Irvine, California.
13

14

15
                                            __________________________________
16                                               CHERYL A. KIRKPATRICK
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                                                  7
                         NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
     Case 5:22-cv-00339-MWF-KS Document 1 Filed 02/24/22 Page 8 of 9 Page ID #:8



1
                                         PROOF OF SERVICE
2
     STATE OF CALIFORNIA, COUNTY OF ORANGE
3          I am employed in the County of Orange, State of California. I am over the age of
4
     18 and not a party to the within action. My business address is: HORTON,
     OBERRECHT & KIRKPATRICK, 3 Park Plaza, Suite 350, Irvine, California 92614.
5

6
            On February 24, 2022, I served the foregoing document described as: Notice of
     Removal by Target Corporation, Jury Trial Demanded, on all interested parties in
7
     this action by placing a true copy thereof enclosed in sealed envelopes addressed as stated
     on the attached service list:
8
     [ ] BY MAIL – I deposited such envelope in the mail at Irvine, California. The
9    envelope was mailed with postage thereon fully prepaid. I am “readily familiar” with the
10   firm’s practice of collection and processing correspondence for mailing. Under that
     practice it would be deposited with the U.S. Postal Service on that same day with postage
11   thereon fully prepaid at Irvine, California in the ordinary course of business. I am aware
12   that on motion of the party served, service is presumed invalid if postal cancellation date
     or postage meter date is more than (1) day after the date of deposit for mailing in
13   affidavit.
14
     [ ] BY PERSONAL SERVICE – I caused such envelope to be delivered by a process
15
     server employed by [name of process server].
16
     [ X ] BY ELECTRONIC TRANSMISSION – I transmitted a PDF version of this
17
     document by electronic mail to the party(s) identified on the attached service list using
18   the e-mail address(es) indicated.
19
     [ X ] (Federal) I declare that I am employed in the office of a member of the bar of
20   this Court at whose direction the service was made.
21
           Executed on February 24, 2022, at Irvine, California.
22

23

24

25                                                     Crystal Thompson
26

27

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                                                  8
                       NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
     Case 5:22-cv-00339-MWF-KS Document 1 Filed 02/24/22 Page 9 of 9 Page ID #:9



1
                                     SERVICE LIST
2
     Jeremiah Denard v. Target Corporation
3
     California Superior Court, San Bernardino; Case Number CIVSB2115882
4
     John R. Rofael, Esq.                        Attorneys for Plaintiff, Jeremiah Denard
5
     Downtown LA Law Group
6    601 N. Vermont Ave.
     Los Angeles, CA 90004
7
     Tel: 213-389-3765
8    Fax: 877-389-2775
     Email: Jrofael@downtownlalaw.com
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                    NOTICE OF REMOVAL BY DEFENDANT TARGET CORPORATION
